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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               NEWNAN DIVISION

   IN RE:                                     }   CASE NUMBER 15-10680-WHD
                                              }
   Tywanda Faye Smart                         }   CHAPTER 13
                                              }
                   DEBTOR                     }

                                   NOTICE OF HEARING

   PLEASE TAKE NOTICE that Saedi Law Group, LLC, has filed a Motion to Withdraw
   as counsel and related papers with the Court.

   PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion to
   Withdraw in Courtroom Newnan, United States Courthouse, 18 Greenville Street, 2nd
   floor, Newnan, GA 30263 at 9:20 am on May 24, 2018.

   Your rights may be affected by the court’s ruling on these pleadings. You should read
   these pleadings carefully and discuss them with your attorney, if you have one in this
   bankruptcy case. (if you do not have an attorney, you may wish to consult one.) If you
   do not want the court to grant the relief sought in these pleadings or if you want the court
   to consider your views, then you and/or your attorney must attend the hearing. You may
   also file a written response to the pleading with the Clerk at the address stated below, but
   you are not required to do so. If you file a written response, you must attach a certificate
   stating when, how and on whom (including 2 addresses) you served the response. Mail
   or deliver your response so that it is received by the Clerk’s Office is: Clerk, U.S.
   Bankruptcy Court, 18 Greenville Street, 2nd Floor, Newnan, GA 30263. You must also
   mail a copy of your responses to the undersigned at the address stated below.

   Dated: Tuesday, April 24, 2018
   Saedi Law Group, LLC
   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                NEWNAN DIVISION

   IN RE:                                         }   CASE NUMBER 15-10680-WHD
                                                  }
   Tywanda Faye Smart                             }   CHAPTER 13
                                                  }
                   DEBTOR                         }

                        MOTION TO WITHDRAW AS ATTORNEY

         COMES NOW, Saedi Law Group, LLC, Debtor’s attorney, and requests
   that this Honorable Court enter an Order allowing Saedi Law Group, LLC to
   withdraw as counsel herein and shows the Court as follows:


                                             1.
         Debtor’s case was filed on March 29, 2015.


                                             2.
         Debtor has disregarded counsel legal advice and proceeded to file additional
   legal documents on her own. Debtor’s counsel reviewed all legal options with
   debtor that were available in regards to the lift of stay which (Doc.50) on debtor’s
   real property located at 190 Heritage Farm Lane, Fayetteville, GA 30215. Debtor
   disregarded counsel and intentionally filed a pro se Chapter 13 case (18-10374-
   WHD) knowing that her current Chapter 13 case was still active.


                                             3.
    The undersigned, in accordance with the provisions of BLR 9015-5(b)(1), has given
   notice to Debtor (See Exhibit A).


            WHEREFORE Debtor prays that the Court will consider this motion and
   issue an Order permitting the withdrawl of Saed Law Group, LLC, as counsel for
   the Debtor.
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   Respectfully submitted,

   Dated: Tuesday, April 24, 2018
   Saedi Law Group, LLC
   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               NEWNAN DIVISION

   IN RE:                                    }   CASE NUMBER 15-10680-WHD
                                             }
   Tywanda Faye Smart                        }   CHAPTER 13
                                             }
                  DEBTOR                     }

                               CERTIFICATE OF SERVICE

   The undersigned hereby swears or affirms that a copy of the Motion to Withdraw has
   been mailed to the following with sufficient postage affixed thereto to ensure delivery by
   first-class United States mail or by electronic means pursuant to Fed. R. Civ. P.(b)(2)(D)
   and Fed. R. Bankr. P. 9022:

   Melissa J. Davey
   Chapter 13 Trustee
   260 Peachtree Street, NW, Suite 200
   Atlanta, GA 30303

   Tywanda Faye Smart
   190 Heritage Farm Lane
   Fayetteville, GA 30215

   Dated: Tuesday, April 24, 2018
   Saedi Law Group, LLC
   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com
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                       EXHIBIT A
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April 14, 2018

Tywanda Faye Smart
190 Heritage Farm Lane
Fayetteville, GA 30215

RE: Motion to Withdraw as Counsel

Dear Ms. Smart:

           This letter is to notify you that Saedi Law Group, LLC. wishes to withdraw as
attorneys of record in your pending Chapter 13 bankruptcy (Case Number 15-10680). Although
our office had extensively reviewed your case with you in regards to your mortgage issues, you
filed a Chapter 13 bankruptcy while still in your current case without notifying our office. Our
firm will not be responsible for the legal ramifications of your unsanctioned actions We intend
to file a motion to withdraw promptly. The Bankruptcy Court will retain jurisdiction in the
matter. The address of the Bankruptcy Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Suite
1340, 75 Spring Street, Atlanta Georgia, 30303, and the telephone number for the clerk is 404-
215-1000.

           Pursuant to BLR 9010-5, once the withdrawal is permitted by the Court, you will have
the obligation to promptly file with the Bankruptcy Court, and mail to all adverse parties of their
counsel, a written statement showing (a) the names of the parties and the number of each case,
adversary proceeding, or contested matter in which you are a party and (b) your current
telephone number and mailing address. The statement must be amended promptly if your
telephone number or mailing address ever changes. You will also have the obligation to respond
to any discovery or motions, to take other actions as are appropriate or required and to prepare
for an trial or hearing that may be scheduled in any matter, or to hire other counsel to do
so. Your failure or refusal to meet these obligations may result in adverse
consequences. Service of notice, pleadings and other papers will be mailed to you at the
following last known address: 190 Heritage Farm Lane, Fayetteville GA 30215.

You have fourteen days from the date you receive this letter to contact Saedi Law Group and
state any objection to our withdrawal.

Sincerely,



Lorena L. Saedi 622072


                          3006 CLAIRMONT ROAD, ATLANTA GEORGIA 30329
                                    WWW.SAEDILAWGROUP.COM
                              404-889-8663 (PHONE) 888-850-1774 (FAX)
